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                                                IN THE

                               UNITED STATES COURT OF APPEALS

                                   FOR THE NINTH CIRCUIT
              ALEXANDER SMIRNOV,                      ) C.A. No. 24-970
                                                      ) D.C. No. 24-cr-00091
                     Petitioner-Defendant,            )
                                                      ) (Central Dist. Cal.)
                          v.                          )
                                                      ) GOVERNMENT’S MOTION TO
              UNITED STATES DISTRICT                  ) DISMISS AND RESPONSE TO
                                                      ) PETITION FOR A WRIT OF
              COURT FOR THE CENTRAL                   )
              DISTRICT OF CALIFORNIA,                 ) MANDAMUS; MEMORANDUM
                                                      ) OF POINTS & AUTHORITIES;
                     Respondent.                      ) DECLARATION OF COUNSEL
                                                      )

                    Respondent United States of America moves this Court to dismiss

             Petitioner-Defendant’s Petition for a Writ of Mandamus and, in the

             alternative, submits a response to the Petition. The United States is a

             Respondent pursuant to Federal Rule of Appellate Procedure 21(a)(1).

                    Dismissal is appropriate because Petitioner-Defendant was

             arrested in the District of Nevada and transported to the Central District

             of California on February 23, 2024, by the United States Marshals

             Service. He is detained in the Central District of California pending a

             detention hearing before the district court on February 26, 2024. Since

             Petitioner-Defendant requests mandamus to prevent his removal from

             the District of Nevada, his appeal should be dismissed as moot.
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                    Even if the Petition were not moot, it should be denied because the

             United States District Court for the Central District of California was the

             court of original jurisdiction in this matter and had the authority,

             pursuant to 18 U.S.C. § 3145, to revoke the pretrial release order of the

             arresting district and issue a warrant for Petitioner-Defendant’s arrest

             and transportation to the Central District of California.

                    This motion is made pursuant to Federal Rule of Appellate

             Procedure 27 and Ninth Circuit Rule 27-9.2, and is based on the

             attached Memorandum of Points and Authorities, accompanying exhibits

             and declaration, and the record in this case.

              DATED: February 24, 2024              Respectfully submitted,
                                                    DAVID C. WEISS
                                                    Special Counsel
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                                                    _____________________________________________________________________

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                          MEMORANDUM OF POINTS AND AUTHORITIES

                                         I. INTRODUCTION

                    The United States District Court for the Central District of

             California (hereafter “the district court”) is the court of original

             jurisdiction in this matter. Therefore, pursuant to 18 U.S.C. § 1345, that

             court, and that court alone, had jurisdiction to hear the government’s

             motion for revocation of a release order issued in the arresting district,

             the District of Nevada. Because the district court had the statutory

             authority to revoke the release order issued in the District of Nevada, it

             had the authority to issue an arrest warrant to take Petitioner-Defendant

             into custody and order his transportation to the Central District of

             California.     Although not required to do so, the district court has

             scheduled a second detention hearing in this matter for February 26,

             2024, a mere one business day and three calendar days after Petitioner-

             Defendant’s arrest. At that time, Petitioner-Defendant will have the

             opportunity to make arguments that he should be released and has now

             submitted a filing to that effect in the district court.

                    Petitioner-Defendant is currently in the Central District of

             California. Therefore, his Petition for a Writ of Mandamus where he asks


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             this Court to “prevent Judge Wright from removing him from the District

             of Nevada, which presently has jurisdiction over him,” is moot and should

             be dismissed.

                    Even if his Petition were not moot, this Court should nonetheless

             dismiss it because Petitioner-Defendant fails to carry his burden to

             establish that mandamus is appropriate under this Court’s precedent in

             Bauman v. United States Dist. Ct., 557 F.2d 650 (9th Cir. 1977).

             Petitioner-Defendant has the ability to contest his detention at the

             detention hearing the district court has scheduled for February 26, 2024,

             and will have a right to a direct appeal to this Court thereafter. Thus, he

             will not be damaged or prejudiced in a way not correctable on appeal.

             Because the district court is the court of original jurisdiction in this

             matter, its order revoking the arresting district’s release order and

             issuance of an arrest warrant directing the transportation of Petitioner-

             Defendant to the Central District of California is correct. Moreover,

             because the district court’s actions are authorized by statute, this is not

             error, let alone an “oft-repeated one,” as he contends. Nor does the court’s

             order raise new and important problems or issues of law of first




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             impression. The district court has simply exercised authority conferred

             on it by statute in a fashion similar to district courts across the country.

                          II. FACTUAL AND PROCEDURAL HISTORY

                    On February 14, 2024, a federal grand jury in the Central District

             of California returned a two-count indictment charging Petitioner-

             Defendant with one count of making false statements to federal law

             enforcement, in violation of 18 U.S.C. § 1001 (Count One), and one count

             of creating a false and fictitious record in a federal investigation, in

             violation of 18 U.S.C. § 1519 (Count Two). ECF 1.1 According to the

             indictment returned by a Central District of California grand jury, he

             made false statements to the FBI after repeatedly being admonished that

             he must be truthful. Id. at pp. 2-3. Moreover, he committed obstruction

             when he fabricated allegations about Public Official 1 after expressing

             bias against Public Official 1 and his candidacy. Id. at pp. 4, 37.      He

             provided false information after he said he met with officials associated

             with Russian intelligence. Id. at p. 4, ECF 11 at 10-19.




                    1 References to “ECF” are to the underlying District Court record in

             United States v. Smirnov, Cr. No. 2:24-cr-00091-ODW (C.D. Cal.).

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                    On February 14, 2024, Petitioner-Defendant was arrested in the

             District of Nevada at the Harry Reid International Airport in Las Vegas

             after entering the United States on an inbound flight. ECF 11 at pp. 4-

             5. Petitioner-Defendant had plans to leave the United States a few days

             later for a months-long, multi-country trip that, by his own description,

             involved meetings with officials of foreign intelligence agencies and

             governments. Id. These intelligence sources could permanently resettle

             him outside the United States in Russia or another country where he

             could avoid extradition. Id. at 10.

                    He also lied to United States Pretrial Services immediately after

             his arrest when he failed to disclose over $6 million in liquid funds to

             which he had access in two bank accounts. Id. at pp. 1-2, 19-21. Instead,

             he claimed he had access to $5,000 in a personal checking account and

             $1,500 cash. ECF 11, Exh. 11 at p. 2.

                    Petitioner-Defendant is a dual-U.S./Israeli citizen and can obtain a

             new Israeli passport at any time by visiting an Israeli consulate. ECF 11

             at p. 4.     He has no ties to the community in Nevada other than a

             girlfriend. ECF 11, Exh. 11 p. 1.




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                    On February 15, 2024, Petitioner-Defendant had an initial

             appearance in the District of Nevada. Id. at p. 5. The government moved

             for detention pursuant to 18 U.S.C. § 3142(f)(2)(a) and (b) on the basis

             that Petitioner-Defendant posed a serious risk of flight and a serious risk

             of obstruction of justice. Id.

                    On February 20, 2024, United States Magistrate Judge Daniel J.

             Albregts of the United States District Court for the District of Nevada

             held a detention hearing. Id. At that hearing, the magistrate judge found

             the government had proven that Petitioner-Defendant posed a risk of

             flight by a preponderance of the evidence but that the government had

             not proven by a preponderance of the evidence that no condition or

             combination of conditions could reasonably assure his appearance. ECF

             33-1 at p. 36. The magistrate judge stated:

                    I think it’s pretty clear to this Court that Mr. Smirnov is a
                    flight risk by a preponderance of the evidence. His dual
                    citizenship, his possession of passports, his foreign ties, his
                    extensive questions, and some questions about his
                    employment and where he makes his money I think clearly
                    rise to the level that he’s a risk of nonappearance by a
                    preponderance of the evidence.

             Id.




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                    Despite this finding, the magistrate judge ordered Petitioner-

             Defendant released on a personal recognizance bond and conditions.

             ECF 11 at 5. The magistrate judge denied the Government’s request for

             a temporary stay of his order while it filed for a review of the bail order

             with the United States District Court for the District of California

             pursuant to 18 U.S.C. § 3145. Id. The hearing concluded at 4:01 p.m.

             and Petitioner-Defendant was released immediately thereafter. ECF 33-

             1 at p. 45. The magistrate judge issued a Transfer Order of the matter

             to the Central District of California which stated Petitioner-Defendant

             shall appear in the Central District of California “As Ordered.” Exh. 1.

                    In the morning on February 21, 2024, the government filed an

             Application for Review/Reconsideration of Order Setting Conditions of

             Release pursuant to 18 U.S.C. § 3145. ECF 11. The filed Application was

             sent by email from the government to retained defense counsel, Mr.

             Schonfeld, who had represented Petitioner-Defendant at the detention

             hearing. Hines Decl. at ¶ 2.      By mid-afternoon, Mr. Schonfeld entered

             his appearance in the Central District of California case.             ECF 14.

             Petitioner-Defendant did not file any response with the district court on

             February 21, 2024.


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                    On February 22, 2024, the district court issued a sealed arrest

             warrant and an order. Exh. 2. As explained in the order, the district

             court granted the government’s motion for reconsideration and ordered

             that upon his arrest, Petitioner-Defendant should be brought promptly

             to the United States District Court for the Central District of California.

             Id. The district court in the Central District of California scheduled a

             detention hearing for 9:00 a.m. on Monday, February 26, 2024. Exh. 2.

             Petitioner-Defendant was arrested pursuant to the arrest warrant.

             Hines Decl. at ¶ 5.

                    In the morning of February 23, 2024, Petitioner-Defendant was

             transported by the United States Marshals Service to Los Angeles,

             California. Hines Decl. at ¶ 5, Exh. 3.

                    In the evening of February 23, 2024, Petitioner-Defendant filed a

             supplemental brief with this Court.          Dkt.Entry 12.1.       In his filing,

             Petitioner-Defendant did not disclose that the emergency relief he sought

             in his petition was now moot because he had been transported to the

             Central District of California earlier that morning. Id.




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                                            III. ARGUMENT

             A.     The Petition for a Writ of Mandamus Should Be Dismissed

                    The United States moves to dismiss Petitioner-Defendant’s

             Petition for a Writ of Mandamus.

                    1.      The Petition is Moot

                    Petitioner-Defendant is currently in the Central District of

             California. Therefore, the Petition is moot because the relief sought, an

             order “to prevent Judge Wright from moving him from the District of

             Nevada, which presently has jurisdiction over him,” is not available.

                    A case is considered moot if it has “lost its character as a present,

             live controversy of the kind that must exist if we are to avoid advisory

             opinions or abstract propositions of law.” Lindguist v. Idaho State Bd. Of

             Corrections, 776 F.2d 851, 853–54 (9th Cir. 1985) (quotations omitted).

             Courts cannot take jurisdiction over a claim as to which no effective relief

             can be granted. Aguirre v. S.S. Sohio Intrepid, 801 F.2d 1185, 1189 (9th

             Cir. 1986). There is no justiciable controversy when the question sought

             to be adjudicated has been mooted by developments subsequent to the

             filing of the appeal. Flast v. Cohen, 392 U.S. 83, 95 (1968).




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                    In his emergency petition for a writ of mandamus, Dkt. Entry 7.1,

             Petitioner-Defendant claims irreparable harm because “there is a

             reasonable concern that based upon the warrant from the United States

             District Court of the Central District of California the Petitioner may be

             transported out of the District of Nevada prior to a determination of the

             Motion.” Dkt. Entry 7.1 at ¶ 5. In support of his argument, Petitioner-

             Defendant claimed, “[o]nce Petitioner is hauled from his home in Las

             Vegas to a detention cell in Los Angeles, he will have no adequate legal

             remedy or, indeed, any remedy at all,” and “Petitioner’s removal will

             result in him being banned in a way that cannot be remedied on appeal.”

             Pet.-Def. Memo. of Points and Authorities at 6. Petitioner-Defendant

             requested mandamus relief from this Court to “prevent Judge Wright

             from removing him from the District of Nevada.” Id. at 8.

                    The United States Marshals Service has confirmed that Petitioner-

             Defendant is currently housed in the Central District of California and is

             awaiting his detention hearing this Monday, February 26, 2024. Hines

             Decl. at ¶ 3, Exh. 1. Although such relief is unwarranted, this Court

             could not issue an order preventing Petitioner-Defendant’s removal from

             the District of Nevada because he already is in the Central District of


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             California for his upcoming hearing. His emergency mandamus petition

             is therefore moot and should be denied. 2

                    2.      The Issue Raised by Petitioner-Defendant is Not “Capable of
                            Repetition, Yet Evading Review”

                    The exception to the mootness doctrine for controversies that are

             capable of repetition, yet evading review, does not apply. As the Supreme

             Court has held, “[t]hat exception applies ‘only in exceptional situations,’

             where (1) ‘the challenged action [is] in its duration too short to be fully

             litigated prior to cessation or expiration,’ and (2) ‘there [is] a reasonable

             expectation that the same complaining party [will] be subject to the same

             action again.’” Kingdomware Technologies, Inc. v. United States, 136 S.

             Ct. 1969, 1976 (2016) (citing Spencer v. Kemna, 523 U.S. 1, 17 (1998)); see

             also, Murphy v. Hunt, 455 U.S. 478, 482 (1982); Illinois State Bd. of




                    2 While Petitioner-Defendant’s brief includes an additional request

             that this Court reassign the district court case to another judge,
             Petitioner-Defendant does not apply the Bauman factors to justify such
             relief in the form of a writ of mandamus. Notwithstanding that his claim
             for reassignment is unfounded and wholly unsupported, he has not raised
             this claim before the district court and has not offered any reason why
             such claim must be considered by this Court in an emergency mandamus
             petition as opposed to other ways to attain his requested relief. See supra
             at III.C.

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             Elections v. Socialist Workers Party, 440 U.S. 173, 187-88 (1979);

             Weinstein v. Bradford, 423 U.S. 147, 149 (1975).

                    Petitioner-Defendant does not assert a reasonable expectation that

             he will again be arrested in the District of Nevada for the crimes charged

             in this indictment, released on conditions despite being found to be a

             flight risk, arrested pursuant to an arrest warrant from the district court

             after an application for review of a magistrate judge’s release order, and

             then immediately transported to the Central District of California for a

             detention hearing. The Supreme Court “has never held that a mere

             physical or theoretical possibility was sufficient to satisfy the test stated

             in Weinstein. If this were true, virtually any matter of short duration

             would be reviewable.” Murphy, 455 U.S. at 482.

                    Moreover, the challenged action was not too short in duration to be

             fully litigated. Petitioner-Defendant decided not to file any response to

             the Government’s motion for review pursuant to 18 U.S.C. § 3145 until

             after he filed his mandamus petition in this Court and after he filed his

             supplemental filing in this Court, and after he filed two separate motions

             with the magistrate judge in the District of Nevada seeking to overrule

             the district court in the Central District of California. His decision to


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             make four separate filings in courts other than the Central District of

             California shows that he could have made his claims in the district court

             before his transport to the Central District of California. In short, the

             “Capable of Repetition, Yet Evading Review” exception does not apply.

             B.     The Petition Should Be Denied on the Merits Because the
                    District Court had the Authority to Revoke the Pretrial
                    Release Order and Petitioner-Defendant Failed to Justify
                    the Extreme Relief of a Mandamus under Bauman

                    Petitioner-Defendant asks this Court to issue a writ of mandamus

             to prevent [the presiding District Judge] from removing him from the

             District of Nevada.”        For the reasons explained below, Petitioner-

             Defendant has failed to satisfy his very high burden for obtaining

             mandamus relief.

                    Mandamus presents a “drastic” remedy to be employed “only in

             extraordinary situations.” Bauman v. United States Dist. Ct., 557 F.2d

             650 (9th Cir. 1977) (quoting Kerr v. United States Dist. Ct., 426 U.S. 394,

             402 (1976)). “A mandamus petitioner bears the burden of establishing

             that ‘right to issuance of the writ is clear and indisputable.’” Bozic v.

             United States Dist. Ct., 888 F.3d 1048, 1052 (9th Cir. 2018) (quoting

             Cheney v. United States Dist. Court, 542 U.S. 367, 381 (2004) (internal

             quotation marks omitted)). “Even when a petitioner has carried this

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             burden, we may not grant relief unless we are ‘satisfied that the writ is

             appropriate under the circumstances.’” Id. (quoting Cheney, 542 U.S. at

             381). The Ninth Circuit applies “five specific guidelines” when deciding

             the applicability of this extraordinary and rare authority:

                    (1) The party seeking the writ has no other adequate means,
                    such as a direct appeal, to attain the relief he or she desires.
                    (2) The petitioner will be damaged or prejudiced in a way not
                    correctable on appeal. . . . (3) The district court’s order is
                    clearly erroneous as a matter of law. (4) The district court’s
                    order is an oft-repeated error, or manifests a persistent
                    disregard of the federal rules. (5) The district court’s order
                    raises new and important problems, or issues of law of first
                    impression.

             Id. at 654-55 (internal citations omitted).

                    Petitioner-Defendant fails to carry his substantial burden to justify

             this extreme relief. Indeed, as demonstrated below, all of the Bauman

             factors, individually and collectively, counsel against the use of

             mandamus here.

                    1.      Petitioner-Defendant Has Other Means To Attain Relief
                            Including Through The District Court And Proper Appeal To
                            This Court

                    Petitioner-Defendant asks this Court to “prevent [the Central

             District of California] from removing him from the District of Nevada,”

             and “return to the parties to the status quo as it existed at the conclusion


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             of the detention hearing and release order on February 20, 2024.” As

             explained above, this claim is moot. Even if the claim was not moot,

             although Petitioner-Defendant couches his relief as a request to remain

             in the District of Nevada, what he really wants is an opportunity to be

             heard on the issue of detention (as outlined in his Emergency Motion for

             Immediate Detention Hearing and Release on Previously Imposed

             Conditions, United States v. Smirnov, 2:24-MJ-166-DJA (D. Nev.), ECF

             24). As explained below, Petitioner-Defendant will have that opportunity

             less than 48 hours from now.

                    Petitioner-Defendant does not satisfy the first Bauman factor

             because other adequate means are readily available to him; indeed, he is

             currently apprising himself of those appropriate avenues in due course.

             Specifically, the district court—that is, the court of original jurisdiction,

             given the indictment in the Central District of California that

             precipitated this arrest and detention—has scheduled a detention

             hearing for this Monday, February 26, 2024, at 9:00 am. In anticipation

             of the hearing, Petitioner-Defendant already has filed, on February 23,

             2024, an opposition to the government’s application for review of the

             magistrate judge’s bail order, setting forth his arguments in favor of


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             release. See United States v. Alexander Smirnov, 2:24-cr-91 (C.D. Cal.),

             ECF 33.

                    Petitioner-Defendant’s detention, undoubtedly, will be addressed at

             that hearing by the district court, which—notwithstanding Petitioner-

             Defendant’s claims to the contrary—clearly has proper jurisdiction and

             authority over this matter of Petitioner-Defendant’s detention. See 18

             U.S.C. § 3145(a) (“If a person is ordered released by a magistrate judge, .

             . . (1) the attorney for the Government may file, with the court having

             original jurisdiction over the offense, a motion for revocation of the

             order[.]”); see also United States v. Evans, 62 F.3d 1233, 1234 (9th Cir.

             1995); United States v. Munchel, 991 F.3d 1273, 1278–85 (D.C. Cir. 2021);

             United States v. Cisneros, 328 F.3d 610 (10th Cir. 2003); United States v.

             El Edwy, 272 F.3d 149, 153 (2d Cir. 2001).

                    Moreover, if the district court orders that Petitioner-Defendant

             remain detained and he seeks to further challenge that order, another

             adequate means to seek relief will present itself as set forth in 18 U.S.C.

             § 3145(c): a traditional appeal to this Court pursuant to the standard

             appellate procedure codified in 28 U.S.C. § 1291 (appellate review of

             “final decisions of the district courts”). At this time, Petitioner-Defendant


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             has a motion pending before the district court, and the district court has

             set a hearing that will occur in less than two days of this filing. Following

             that hearing, he will have the right to appeal a detention order to his

             Court. Petitioner-Defendant, therefore, has not shown that he is without

             other adequate means to seek the true relief that he is after.

                    2.      Petitioner-Defendant, With A District Court Hearing On
                            Monday And The Right To Appeal To This Court Thereafter,
                            Will Not Be Damaged Or Prejudiced In A Way Not
                            Correctable On Appeal

                    Petitioner-Defendant makes almost no attempt to argue that he

             will suffer damage or prejudice that cannot be remedied. See Pet.-Def.

             Memo. at 6 (claiming only he will be “banned in a way that cannot be

             remedied on appeal”).         Again, this characterization of damage and

             prejudice that cannot be corrected on appeal overlooks entirely the fact

             that the district court has set a detention hearing for this Monday

             morning, February 26, 2024, at which Petitioner-Defendant’s opposition,

             and thus this matter of detention, surely will be addressed.

                    And, as explained above, Petitioner-Defendant is entitled to appeal

             the district court’s detention decision in the normal course if he does not

             get the result that he seeks. See 18 U.S.C. § 3145(c) (citing 28 U.S.C. §

             1291). In other words, to the extent Petitioner-Defendant considers his
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             detention damage or prejudice to be corrected on appeal, he has both a

             district court detention hearing, something he is not even entitled to, and,

             by statute, an appeal available to him even if his petition here is denied.

                    3.      There Was No Clear Error of Law—The District Court Had
                            Authority to Issue an Arrest Warrant

                    Petitioner-Defendant asserts, without any authority, that the

             arrest warrant issued by the court of original jurisdiction—“one that

             commands the Marshal to rearrest a duly-released criminal defendant

             and transport him, under detention, to another state,” Pet.-Def. Memo.

             at 7—was a clearly erroneous exercise of the district court’s jurisdiction.

             That bald assertion finds no support in statute or case law. Indeed, the

             pertinent legal authorities support the district court’s exercise of

             jurisdiction.

                    To begin with, the U.S. District Court for the Central District of

             California is the court of original jurisdiction in this matter by virtue of

             Petitioner-Defendant’s two-count indictment that was returned by a

             grand jury in that district on February 14, 2024.

                    Relevant here, 18 U.S.C. § 3145(a) provides, in part, that “[i]f a

             person is ordered released by a magistrate judge, or by a person other

             than a judge of a court having original jurisdiction over the offense[,]” the
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             government “may file, with the court having original jurisdiction over the

             offense, a motion for revocation of the order[.]” This means, as this Court

             has recognized, that the district court where the criminal defendant is

             charged is the “court having original jurisdiction over the offense,” and

             the court, therefore, with the authority to review a magistrate’s detention

             or release order. See Evans, 62 F.3d at 1234; United States v. Gebro, 948

             F.2d 1118 (9th Cir. 1991).

                    In Evans, the defendant was indicted in the Northern District of

             West Virginia, from which the arrest warrant was issued, but was

             arrested in the District of Arizona. 62 F.3d at 1234. A United States

             magistrate judge in Arizona ordered that the defendant be detained, but,

             upon review sought by the defendant, a United States district judge in

             Arizona ordered that he be released, notwithstanding the government’s

             motion to dismiss and argument that the district judge in Arizona lacked

             jurisdiction under 18 U.S.C. § 3145(b). Id. at 1234-35. The government

             appealed pursuant to 28 U.S.C. § 1291. Id. This Court, on appeal, held

             that it is a district judge in the original jurisdiction—i.e., where the case

             is indicted and pending, and not a district judge in the arresting

             jurisdiction—who exercises proper review over a detention/release order


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             under 18 U.S.C. § 3145 (“We conclude[] . . . that this is a particular

             procedure that is envisioned by Rule 40 [of the Federal Rules of Criminal

             Procedure] 3 and section 3145 that places the review of the magistrate

             judge’s order in the province of the district court where the prosecution

             is pending, and where the bail status of the defendant ultimately will be

             determined during the course of that trial.”). Id. at 1237; see also id.

             (under 18 U.S.C. § 3145, “[t]he court having original jurisdiction over the

             offense” is “the district court in which the prosecution must ‘originally’ be

             commenced in order to be sustained”); cf. Gebro, 948 F.2d 1118 (district

             court has jurisdiction to review magistrate judge’s detention order sua

             sponte); United States v. Vega, 438 F.3d 801, 804 (7th Cir. 2006) (“The

             district court below correctly concluded that it did not have jurisdiction

             over Vega’s motion for review and enforcement, and accordingly ordered

             that the defendant be transferred to the court of competent jurisdiction,

             the Eastern District of Virginia.”).




                    3 Federal Rule of Criminal Procedure 40 has since been amended

             on multiple occasions and portions of it have been relocated to other
             Federal Rules of Criminal Procedure, including Rule 5 (initial
             appearances). See Fed R. Crim. P. 40, Committee Notes on Rules—2002
             Amendment.

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                    As applied to this case, Evans makes clear that the Central District

             of California alone had the authority in the first instance, under 18

             U.S.C. § 3145, to review the release order of the U.S. Magistrate Judge

             in the arresting jurisdiction, the District of Nevada. Here, on February

             20, 2024, a U.S. Magistrate Judge in the District of Nevada, after a

             detention hearing, ordered Petitioner-Defendant released subject to

             certain conditions of release. United States v. Smirnov, 2:24-MJ-166-

             DJA (D. Nev.), ECF 17-18. Following that hearing, the magistrate judge

             issued an order requiring Petitioner-Defendant to appear in the Central

             District of California and “[t]ransferring [b]ail” to the Central

             District of California. Id., Exh. 1 (emphasis added). Early the next

             morning, the government moved to revoke that order. ECF 11. The

             district court, as the “court having original jurisdiction over the

             offense[,]” id., granted the government’s motion and issued a warrant for

             Petitioner-Defendant’s arrest so that he could appear before the Central

             District of California without delay. Contrary to Petitioner-Defendant’s

             assertions that the district court erred as a matter of law and exceeded

             its jurisdiction, the district court, in fact, acted in accordance with the

             statutory process specifically designed to handle this kind of matter.


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                    Indeed, the U.S. Magistrate Judge in the District of Nevada—

             whose release order Petitioner-Defendant sought to enforce—also

             recognizes that the Central District of California appropriately exercised

             its jurisdiction over this matter. Specifically, on February 23, 2024, the

             magistrate judge denied as moot Petitioner’s emergency motions seeking

             an immediate detention hearing and release on previously imposed

             conditions and an order keeping Petitioner-Defendant in the District of

             Nevada. United States v. Alexander Smirnov, 2:24-mj-166-DJA (D. Nev.),

             Minute Order, ECF 30. In denying Petitioner’s motions and vacating its

             order for the government to respond, the magistrate judge noted, “Given

             the order setting a hearing in the Central District of California, this

             Court no longer has jurisdiction to decide Defendant’s motions . . . and

             DENIES them as moot.” Id.

                    Petitioner-Defendant summarily argues that “[t]here are no

             provisions for the re-arrest of Petitioner,” and that “[a]ny such provision

             would undermine the entire purpose of a criminal defendant having the

             right to a Rule 5 hearing in the District where he is arrested . . . .”

             Petition, at 6. Not true. Under the Section 3142 and Rule 5, a defendant

             is entitled to an initial appearance, an identity hearing, a detention


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             hearing,       and   various   advisements—all         of    which        Petitioner-

             Defendant had (with the exception of an identity hearing, which he

             waived). Thereafter, and after the magistrate judge transferred bail, the

             Central District of California exercised its jurisdiction to issue an arrest

             warrant so that Petitioner-Defendant could promptly be brought before

             the court of original jurisdiction. Petitioner-Defendant cites no statute

             or case law suggesting that the district court had no authority to issue a

             warrant after it has revoked an order of release—he merely asserts that

             it did not. Petitioner-Defendant’s argument would render the authority

             conferred on courts of original jurisdiction to revoke release orders

             meaningless if they could not issue arrest warrants. 4




                    4 Further, Federal Rule of Criminal Procedure 9(a) provides that a

             court “may issue more than one warrant or summons for the same
             defendant.” In addition, the All Writs Act, 28 U.S.C. § 1651, provides that
             federal courts “may issue all writs necessary or appropriate in aid of their
             respective jurisdictions and agreeable to the usages and principles of
             law.” See also United States v. New York Tel. Co., 434 U.S. 159, 173
             (1977) (the All Writs Act is applied “flexibly” and permits appellate courts
             to issue writs bringing prisoners to court for appropriate proceedings);
             Adams v. United States ex. Rel. McCann, 317 U.S. 269, 273 (1942)
             (“Unless appropriately confined by Congress, a federal court may avail
             itself of all auxiliary writs as aids in the performance of its duties, when
             the use of such historic aids is calculated in its sound judgment to achieve
             the ends of justice entrusted to it.”).

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                     To the extent “the third factor, the existence of clear error as a

             matter of law, is dispositive,” Exec. Software N. Am., Inc. v. U.S. Dist. Ct.

             for Cent. Dist. of California, 24 F.3d 1545, 1551 (9th Cir. 1994), as

             Petitioner-Defendant notes, Evans and the applicable law firmly weighs

             this factor against and closes the door on his mandamus request. 5

                    4.      This Matter Involves No Oft-Repeated Error Or Persistent
                            Disregard Of The Federal Rules

                    Based on the facts and law referenced above, nothing in this matter

             constitutes an oft-repeated error or “manifests a persistent disregard of




                    5Petitioner-Defendant also claims that the District Court erred
             because it did not afford Petitioner-Defendant an opportunity to be heard
             in opposition to the government’s motion for revocation. Def.-Pet. Mem.
             at 7. However, Petitioner-Defendant already had a detention hearing
             before the U.S. Magistrate Judge in Nevada. Petitioner-Defendant
             points to no authority suggesting that he is entitled to a second detention
             hearing or that the District Court could not take immediate action to
             reverse the magistrate judge’s ruling. The District Court, as the court of
             original jurisdiction and as explained above, had the authority to
             overrule the magistrate judge based on the present record. See United
             States v. Koenig, 912 F.2d 1190, 1193 (9th Cir. 1991) (holding that district
             court of original jurisdiction reviews magistrate judge’s bail
             determination de novo, and noting that “district court, while empowered
             to do so, is not required to hold an evidentiary hearing when no evidence
             is offered that was not before the magistrate”). Nonetheless, Petitioner-
             Defendant is currently being afforded an opportunity to present its
             opposition to the District Court based on its pending filing and the
             hearing set for Monday morning.

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             the federal rules.” Bauman, 557 F.2d at 654-55. The district court

             properly exercised its jurisdiction and authority in reviewing and

             reversing the magistrate judge’s release order.                   Even Petitioner-

             Defendant concedes in his petition that this factor does not favor

             mandamus. See Pet.-Def. Mem. at 7.

                    5.       Petitioner-Defendant’s Detention Is Unremarkable And
                             Raises No New Or Important Problems Or Issues Of Law Of
                             First Impression

                    Based on the facts and law referenced above, nothing in this matter

             presents a new or important problem, or an issue of law of first

             impression.       To the contrary, the matter here is unremarkable:             A

             defendant indicted in one district was arrested in another, and following

             a detention hearing and a ruling handled by a magistrate judge, one of

             the parties sought the review of a district judge. These circumstances

             are not unique or exceptional, and they do not present any novel legal

             issues.        This Court’s precedent in Evans and 18 U.S.C. § 3145

             demonstrate that the proceedings at issue are wholly consistent with

             established law and practice, as described above. Petitioner-Defendant’s

             series of “novel, disturbing questions” are neither novel nor disturbing:

             The Central District of California has jurisdiction over Petitioner-


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             Defendant’s case.      There is no basis in law or fact to dismiss the

             indictment (nor does Petitioner-Defendant present any argument in

             support of it). The acts of the district court in this case are valid and

             supported by law and practice. Simply put, this factor, like all the others,

             also counsels in favor of denying Petitioner-Defendant’s mandamus

             request.

             C.     A Writ of Mandamus is Not the Proper Avenue to Seek
                    Judicial Reassignment and is Unwarranted

                    Tucked into the “Conclusion” section of Petitioner-Defendant’s

             memorandum in support of his emergency petition is a request that this

             Court reassign Petitioner-Defendant’s indicted case to a different District

             Judge in the Central District of California. See Def. Mem. at 8-9. In

             furtherance of his request, Petitioner-Defendant cites 28 U.S.C. § 455,

             which provides for the disqualification of a justice, judge, or magistrate

             judge. However, § 455 also specifically provides that “[a]ny justice, judge,

             or magistrate judge . . . shall disqualify himself in any proceeding in

             which his impartiality might reasonably be questioned” or if other

             circumstances are present. 28 U.S.C. § 455(a) (emphasis added).

                    Accordingly, Section 455 contemplates that the presiding judge

             “himself” (or herself) will decide in the first instance whether he (or she)

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             should be disqualified from a particular proceeding or matter. See In re

             Basciano, 542 F.3d 950, 955-56 (2d Cir. 2008) (“The district judge has

             discretion in the first instance to determine whether to disqualify

             himself. We will overturn the court’s determination in that regard only

             if it constitutes an abuse of discretion.”); In re United States, 666 F.2d

             690, 695 (1st Cir. 1981) (“We recognize that the analysis of allegations,

             the balancing of policies, and the resulting decision whether to disqualify

             are in the first instance committed to the district judge. And, since in

             many cases reasonable deciders may disagree, the district judge is

             allowed a range of discretion.”); United States v. Sibla, 624 F.2d 864, 868

             (9th Cir. 1980) (§ 455 is “self-enforcing on the part of the judge,” and “if

             the judge sitting on a case is aware of grounds for recusal within section

             455, that judge has a duty to refuse himself or herself”); Golden v.

             Kipperman, 2019 U.S. Dist. LEXIS 203484, at *4 (S.D. Cal. Nov. 22, 2019)

             (“[Section 455] provides guidelines for judges to disqualify themselves

             sua sponte.”). But just as is the case with his current challenge before

             this Court concerning his detention, Petitioner-Defendant is attempting

             to circumvent ordinary process and seek mandamus relief for an issue

             that should be addressed, first, through a motion to and decision by the


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             district court. See, e.g., United States v. Smith, 210 F.3d 760, 764 (7th

             Cir. 2000) (“The denial of a request that the judge recuse himself under

             section 455(a) must be appealed immediately by application for writ of

             mandamus, or it is waived.”); United States v. Mansoori, 304 F.3d 635,

             667 (7th Cir. 2002) (noting petition for mandamus (or lack thereof)

             following district court’s ruling on § 455); see also United States v. Fong,

             2021 U.S. App. LEXIS 33507, at *1 (9th Cir. Nov. 10, 2021) (granting

             government’s motion to dismiss appeal of district court’s denial of

             defendant’s motion to recuse for lack of jurisdiction because district

             court’s denial “is not a final judgment or an immediately appealable

             collateral order” and denying defendant’s petition for mandamus because

             defendant failed to make showing for “extraordinary remedy of

             mandamus”). Consequently, this matter is not appropriately addressed

             at this time or in this posture. 6




                    6 The government notes that even on the merits as presented by

             Petitioner-Defendant, there is no basis for recusal, and Petitioner-
             Defendant does not make the requisite showing justifying mandamus—
             nor can he considering that the parties have not yet appeared before the
             District Court for even an initial appearance or any hearing.

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                                          IV. CONCLUSION

                    This Court should dismiss Petitioner-Defendant’s appeal because it

             is moot. Even if the Petition were not moot, it should be denied because

             the United States District Court for the Central District of California was

             the court of original jurisdiction in this matter and had the authority,

             pursuant to 18 U.S.C. § 3145, to revoke the pretrial release order of the

             arresting district and issue a warrant for Petitioner-Defendant’s arrest

             and transportation to the Central District of California.




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              DATED: February 24, 2024                    Respectfully submitted,
                                                          DAVID C. WEISS
                                                          Special Counsel

                                                          LEO J. WISE
                                                          Principal Senior Assistant Special
                                                          Counsel



                                                          _____________________________________________________________________

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                                                          Assistant Special Counsels
                                                          Attorneys for Respondent
                                                          UNITED STATES OF AMERICA




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                                    GOVERNMENT’S EXHIBITS

             Exhibit 1 –        Order Requiring a Defendant to Appear in the District
                                Where Charges are Pending and Transferring Bail,
                                issued by the Honorable Daniel J. Albregts, United
                                States Magistrate Judge, District of Nevada.

             Exhibit 2 –        Order Setting Hearing on Government Motion For
                                Review of Release Order, issued by the Honorable Otis
                                D. Wright, II, United States District Judge, Central
                                District of California.

             Exhibit 3 –        Email from USMS Detention Management Coordinator
                                dated Friday, February 23, 2024.




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                               DECLARATION OF DEREK E. HINES

                    I, Derek E. Hines, hereby declare and state as follows:

                    1.      I am a Senior Assistant Special Counsel with the United

             States Department of Justice and am one of the prosecutors assigned to

             the matters of United States v. Alexander Smirnov, D.C. No. 24-cr-00091,

             and Alexander Smirnov v. United States District Court for the Central

             District of California, C.A. No. 24-970.

                    2.      On Tuesday, February 20, 2024, United States Magistrate

             Judge Daniel J. Albregts issued an “Order Requiring a Defendant to

             Appear in the District Where Charges are Pending and Transferring

             Bail,” which is attached as Exhibit 1.

                    3.      On Wednesday, February 21, 2024, at approx. 9:21 AM PST,

             I caused a true and correct copy of the Government’s Application for

             Review of Magistrate Judge’s Bail Order, ECF 11, to be served by email

             on Richard Schonfeld, Esq.

                    4.      On Thursday, February 22, 2024, the Honorable Otis D.

             Wright, II, United States District Judge, issued an “Order Setting

             Hearing on Government Motion For Review of Release Order,” ECF 27,

             which is attached as Exhibit 2.


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                    5.      Petitioner-Defendant was arrested by law enforcement on

             Thursday, February 22, 2024. Exhibit 3 is a true and correct copy of an

             email exchange that I had with the Detention Management Coordinator

             of the United States Marshals Service on Friday, February 23, 2024, who

             stated, “[a]s of 7am this morning Detainee Smirnov is in the cellblock at

             USMS in LA.” The redactions in Exhibit 3 are of the name, suite number,

             cell phone number, and email address of the Detention Management

             Coordinator.

                    I declare under penalty of perjury that the foregoing is true and

             correct.

                    EXECUTED this the 24th day of February 2024, in the

             Commonwealth of Pennsylvania.




                                                           _____________________________________________________________________

                                                           DEREK E. HINES
                                                           Senior Assistant Special Counsel




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